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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                              ENTERED
                     IN THE UNITED STATES DISTRICT COURT                     October 16, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                          David J. Bradley, Clerk
                               HOUSTON DIVISION



JANET FEARRINGTON,                           §
                                             §
                     Plaintiff,              §
                                             §
V.                                           §          CIVIL ACTION NO. H-19-2366
                                             §
BOSTON SCIENTIFIC CORPORATION,               §
                                             §
                     Defendant.              §


                           MEMORANDUM OPINION AND ORDER


       Plaintiff        Janet    Fearrington      ("Plaintiff")    asserts     claims

against defendant Boston Scientific Corporation ("Defendant") for

products liability,             breach of warranty,      fraud,   and negligence. 1

Pending before the court is Defendant Boston Scientific's Motion to

Dismiss    (Docket Entry No.          6)   ("Defendant's Motion to Dismiss") .

For the reasons explained below, Defendant's Motion to Dismiss will

be granted in part and denied in part.


                   I.     Factual and Procedural Background

      Defendant is a manufacturer of medical devices.                  This action

involves     three       devices     produced      by    Defendant:    the     Obtryx

Transobturator Mid-Urethral Sling System ("Obtryx"), the Polyform

Synthetic     Mesh       ("Polyform"),      and    the    Advantage    Fit     System


      See Complaint
      1
                                for Damages and Demand for Jury Trial
("Complaint") , Docket          Entry No. 1, pp. 22-33. All page numbers for
docket entries in the            record refer to the pagination inserted at
the top of the page              by the court's electronic filing system,
CM/ECF.
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